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     P.O. Box 26945
2    Phoenix, Arizona 85068-6945
     Telephone: (602) 710-1005
3    tdake@cox.net

4    Terry A. Dake - 009656

5    Attorney for Trustee

6                       IN THE UNITED STATES BANKRUPTCY COURT

7                            FOR THE DISTRICT OF ARIZONA

8    In re:                           )    In Chapter 7 Proceedings
                                      )
9    LEIF MICHAEL ANDERSEN;           )    Case No. 2:21-BK-06102-MCW
                                      )
10                          Debtor.   )
                                      )
11
                            MOTION TO EXTEND §727 DEADLINE
12                              AND NOTICE OF BAR DATE

13              The trustee moves this Court to extend the deadline for the

14   trustee to file an objection to the discharge of the debtor and the

15   debtor’s marital community with the debtor’s non-filing spouse.      The

16   trustee's motion is more fully set forth in and is supported by the

17   following Memorandum Of Points And Authorities.

18              DATED June 14, 2022

19                                    TERRY A. DAKE, LTD.

20                                    By /s/ TD009656
                                        Terry A. Dake
21                                      P.O. Box 26945
                                        Phoenix, Arizona 85068-6945
22                                      Attorney for Trustee

23                      MEMORANDUM OF POINTS AND AUTHORITIES

24              The debtor has not yet turned over to the trustee the non-

25   exempt bank account balance of $1,057.39.    Also, the debtor has not yet

26   accounted for and/or turned over 2019 federal tax refund of $5,756.00

27   and the 2020 federal tax refund of $3,299.00.

28
1              In light of these outstanding issues, the trustee requests
2    that the deadline for the trustee to object to the discharge of the
3    debtor and the debtor’s marital community with the debtor’s non-filing
4    spouse be extended through and including October 15, 2022.
5              WHEREFORE, the    trustee prays   for   the entry   of   an order
6    extending the time for the trustee to object to the discharge of the
7    debtor and the debtor’s marital community with the debtor’s non-filing
8    spouse as set forth herein.
9              DATED June 14, 2022.
10                                    TERRY A. DAKE, LTD.
11                                    By /s/ TD009656
                                        Terry A. Dake
12                                      P.O. Box 26945
                                        Phoenix, Arizona 85068-6945
13
                    NOTICE OF MOTION TO EXTEND §727 DEADLINE
14
               The trustee has filed the above motion to extend the deadline
15   for filing complaints under 11 U.S.C. §727(a).
16             Your rights may be affected. You should read these papers
     carefully and discuss them with your attorney, if you have one in this
17   bankruptcy case.   If you do not have an attorney, you may wish to
     consult one.
18
               If you do not want the court to grant the trustee’s motion,
19   or if you want the court to consider your views on the trustee’s
     motion, then on or before July 7, 2022, you or your attorney must file
20   with the Court a written response requesting a hearing on the trustee’s
     motion. File your response with the Court at:
21
                                LOCATION:
22                              Clerk
                                United States Bankruptcy Court
23                              230 N. First Ave.
                                Ste. 101
24                              Phoenix, Arizona 85003-1706
25
               If you mail your response to the Court, you must mail it
26   early enough so the Court will receive it on or before the date stated
     above.
27

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1              You must also mail or e-mail1 a copy to the attorney for the
     trustee at:
2
                                        Terry A. Dake, Esq.
3                                       Terry A. Dake, Ltd.
                                        P.O. Box 26945
4                                       Phoenix, Arizona 85068-6945
                                        tdake@cox.net
5
               If you or your attorney do not take these steps, the Court
6    may decide that you do not oppose the trustee’s motion and may enter
     an order that grants the trustee’s motion and extends the time for the
7    trustee to object to your discharge.
8    Copy e-mailed/mailed on June 14, 2022 to:
9    ANTHONY R. MONTOYA
     9820 N. Central Avenue#131
10   Phoenix, AZ 85020
     602-999-7239
11   Email: anthonyrmontoya@gmail.com

12   Melissa Andersen
     5225 N. 24th Street#101
13   Phoenix, AZ 85016

14    /s/ TD009656
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27              E-mailed papers must be in pdf format.

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